                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         CASE NO. 1:14-CV-954

     STUDENTS FOR FAIR
     ADMISSIONS, INC.,

                         Plaintiff,
                                                        JOINT STATEMENT OF
                       v.                                UNDISPUTED FACTS


     THE UNIVERSITY OF NORTH
     CAROLINA AT CHAPEL HILL, et al.,

                         Defendants.



JOINT STATEMENT OF UNDISPUTED FACTS SUBMITTED BY STUDENTS
      FOR FAIR ADMISSION, INC. AND THE UNC DEFENDANTS

        Plaintiff Students for Fair Admissions, Inc. and the UNC Defendants hereby submit

the following joint statement of undisputed facts:

I.      The Parties

        1.    Plaintiff Students for Fair Admissions, Inc. (“SFFA”) is an Internal Revenue

Code Section 501(c)(3) organization. Its stated mission is “to defend human and civil rights

secured by law, including the right of individuals to equal protection under the law, through

litigation and any other lawful means.” SFFA-UNC 0000059 (PX106). SFFA is a voluntary

membership association comprised of more than 20,000 members, including, among others,

applicants who have applied for and were denied admission to the University. SFFA-UNC

0000052 (PX106); Doc. 114-5, 144-6.




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       2.      The University of North Carolina at Chapel Hill was founded in 1789 as the

nation’s first public university.

       3.      The University exists to serve as a center for research, scholarship, and creativity

and to teach a diverse community of undergraduate, graduate, and professional students to

become the next generation of leaders, as set forth in the Mission Statement of the University

of North Carolina, Chapel Hill (UNC0323722 (DX001)).

       4.      The University is a constituent institution of the University of North Carolina

System (the “UNC System”).

       5.      Defendant University of North Carolina Board of Governors is the governing

body of the UNC System.

       6.      The Board of Governors has responsibility for the planning, development, and

overall governance of the UNC System pursuant to Chapter 116 of the North Carolina

General Statutes.

       7.      Defendant Peter Hans is President of the UNC System and its chief

administrative and executive officer. He has complete authority to manage the affairs and

execute the policies of the UNC System, subject to the direction of the Board of Governors.

       8.      The University’s Board of Trustees serves as an advisor to the Board of

Governors on matters pertaining to the University.

       9.      The University’s Board of Trustees is composed of thirteen persons: eight are

elected by the UNC Board of Governors, four are appointed by the North Carolina General

Assembly, and the remaining member is the president of the student government, ex officio.




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       10.      The Board of Trustees and the members thereof were named as defendants at

the outset of this litigation. They were dismissed from the action in 2015 on the condition that

UNC will abide by the terms of any relief ordered against it.

       11.      The University’s Chancellor is responsible for carrying out the policies of the

Board of Governors and the University’s Board of Trustees and is vested with complete

executive authority over the University, subject to the direction of the President of the UNC

System. The Chancellor of the University is Defendant Kevin Guskiewicz, who replaced Carol

Folt in 2019.

       12.      The University’s Board of Trustees also serves as advisor to the Chancellor

concerning the management and development of the University.

       13.      The University Board of Trustees sets the University’s admissions policy,

documented as The University of North Carolina at Chapel Hill: Admissions Policy

(UNC0376839 (DX008)) (the “Admissions Policy”).

       14.      The Admissions Policy states that undergraduate admissions is the

responsibility of the Office of Undergraduate Admissions (the “Admissions Office”). The

Admissions Office makes the University’s admissions decisions.

       15.      The Admissions office has a staff of approximately 120 full-time and part-time

employees.

       16.      The University’s Vice Provost for Enrollment and Undergraduate Admissions

is responsible for all aspects of the University’s Admissions Office. The Vice Provost for

Enrollment and Undergraduate Admissions is Defendant Stephen Farmer.




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       17.      The University’s Vice Provost for Enrollment and Undergraduate Admissions

reports to the Executive Vice Chancellor and Provost of the University. The Executive Vice

Chancellor and Provost of the University is Defendant Robert Blouin, who replaced James

Dean in 2017.

       18.      The Admissions Policy states that the Advisory Committee on Undergraduate

Admissions (the “Advisory Committee”) approves policies and procedures applied by the

Admissions Office.

       19.      UNC0372902 (DX011) is the Charge of the Advisory Committee and sets forth

the Advisory Committee’s membership.

       20.      UNC0104859 (DX009) is the Advisory Committee Statement on the

Evaluation of Candidates for Admission applicable from September 5, 2007 to present.

II.    The University’s Admissions Process

       A.       The Application

       21.      Applicants for admission to the University’s first-year class must apply by one

of two deadlines.

       22.      October 15th is the application deadline for non-binding Early Action.

       23.      January 15th is the application deadline for non-binding Regular Decision.

       24.      During the relevant time period, applicants for admission were required to

submit the Common Application.

       25.      The Common Application is an undergraduate college admission application

that applicants may use to apply to any of more than 800 member colleges.

       26.      All applicants for admission must submit the Common Application essay.



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       27.      All applicants for admission must submit short answers to prompts posed by

the University.

       28.      During the relevant time period, applicants for admission were required to

submit standardized test scores from either the SAT or the ACT.

       29.      All applicants for admission must provide a letter of recommendation from at

least one teacher who taught the applicant in a core academic area.

       30.      All applicants for admission must submit a high school transcript.

       31.      A school counselor must submit a secondary school statement providing

information about the applicant’s high school and the available curriculum.

       32.      Applicants claiming North Carolina residency must provide residency

verification.

       33.      Applicants are required to submit an application fee.

       34.      The University will waive the application fee for applicants who demonstrate

they meet the fee waiver guidelines of the NACAC, ACT, or the College Board or who serve

on active duty in the US Armed Forces.

       35.      Applicants may also submit additional materials, including resumes, artwork,

music samples, disability-related documentation, and additional letters of recommendation.

       36.      The Common Application contains a “Demographics” section that requests,

but does not require, the applicant’s citizenship status, birthplace, and race, and a “Family”

section that requests, but does not require, the applicant’s parents’ country of birth.

       37.      Applicants who identify themselves by race or ethnicity are not limited to one

race or ethnicity, but may choose all with which they identify.



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       B.      Review of Applications

       38.     Pursuant to the Board of Governors’ Policy 700.1.3, the enrollment of non-

North Carolina residents in each incoming freshman class cannot exceed 18 percent.

       39.     If the University exceeds this cap, the Board of Governors can reduce the

University’s operating budget for the following year. In the 2014-2015 academic school year,

the University surpassed the cap. In response, the Board of Governors penalized the

University one million dollars.

       40.     The University receives applications from approximately twice as many out-of-

state applicants as in-state applicants each year.

       41.     Every application for admission is reviewed by at least one of 30 to 40

application readers, who collectively form the admissions committee.

       42.     Application readers consist of both full time Admissions Office staff and

seasonal Admissions Office employees.

       43.     Application readers are responsible for evaluating applications and making

recommended admissions decisions.

       44.     With the exception of applications from international students, all applications

are randomly assigned to the readers.

       45.     The Reading Document provides application readers guidance for the review

of applications for admission. UNC0323603 (DX010) is the Reading Document for the 2016-

2017 application year.




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       46.     Readers evaluate each applicant using more than forty criteria grouped into 8

broad categories: academic performance, academic program, standardized testing,

extracurricular activity, special talent, essay criteria, background, and personal criteria.

       47.     Readers assign ratings for five criteria categories: academic program, academic

performance, extracurricular activity, essays, and personal qualities.

       48.     After reviewing the application in its entirety and assigning these five ratings,

the reader makes a tentative admissions decision.

       49.     The reader makes this determination by considering the ratings in the five

categories and all other information contained in the application, including the applicant’s

strengths and weaknesses in the context of the University’s applicant pool.

       50.     There are no minimum rating thresholds or formulas for admission.

       51.     Readers do not sum up, tally, or total the ratings in any way to yield an automatic

admission decision.

       52.     If an application does not receive a second read, the admissions decision

becomes provisionally final after the first read.

       53.     Second reads are conducted by a senior member of the admissions office

(sometimes referred to as Tier 2 readers).

       54.     Tier 2 readers read each application that advances to Tier 2 review in its entirety.

       55.     Tier 2 readers make independent assessments of the candidate across all the

specified categories.

       56.     The Tier 2 reader inputs his or her own admissions decision for the candidate.




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       57.     Recommended admissions decisions made by Tier 2 readers become the

provisionally final decision for that application.

       58.     Readers typically complete their review of applications three to four weeks prior

to the release of admissions decisions for that particular admission cycle.

       59.     Every provisional admissions decision goes through a process known as

Decision Review or School Group Review (“SGR”).

       60.     SGR takes place over the three-week period prior to the release of admissions

decisions to applicants.

       61.     SGR is conducted by a committee comprised of experienced members of the

Admissions Office.

       62.     UNC0079438 (DX012) is the School Group Review policy applicable from

October 1, 2015 through the 2016-17 application cycle. (“SGR Policy”).

       63.     The SGR Policy provides that every provisional admission decision is reviewed

within the context of the applicant’s high school during SGR.

       64.     The SGR Policy provides that the SGR process serves to ensure that decisions

concerning applicants from the same high school are reasonable in context.

       65.     The SGR Policy provides that the SGR process allows the Admissions Office

to avoid over- or under- enrollment.

       66.     Each SGR committee member is assigned a group of high schools to review.

       67.     Pursuant to the SGR Policy, reports are generated for each high school from

which an applicant applied for admission. The reports display the application deadline,

provisional admission decision, class rank, GPA, test scores, subjective admissions ratings,



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residency status, legacy status, recruited student athlete status, and applicable recruiting

category of each applicant from that particular high school.

         68.   Pursuant to the SGR Policy, decisions during SGR are informed, in part, upon

the predicted number of spaces in the entering class that students who have been provisionally

selected for admission are likely to fill.

         69.   The Admissions Office runs a yield assessment projection to predict

enrollment.

         70.   Upon completion of the SGR process, the yield assessment projections are

updated; it may be necessary to adjust the number of applicants who will receive an offer of

admission to avoid over- or under- enrollment.

         71.   Admissions decisions are then released to each applicant.

         72.   Candidates admitted to the University have until May 1 to accept their place in

the incoming class and to submit their enrollment deposit or their request for a waiver of their

deposit.

         73.   A small subset of applicants who do not receive offers of admission may be

offered a place on the Waiting List.

         74.   A candidate offered a place on the Waiting List must affirmatively accept that

offer in order to receive consideration for any spaces that may become available in the entering

class.

         75.   Final admissions decisions for all candidates who accept a spot on the Waiting

List are made by June 30th.




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       76.    The University does not consider an applicant’s ability to pay all or part of the

cost of their education when making admissions decisions.

       C.     Financial Aid

       77.    Students who wish to receive financial aid must complete the Free Application

for Federal Student Aid form (“FAFSA”) and the College Board’s College Scholarship Service

(“CSS”) Profile questionnaire.

       78.    The FAFSA and CSS forms are used to calculate an applicant’s Expected Family

Contribution according to a set formula.

       79.    The Expected Family Contribution (“EFC”) is an index number that financial

aid staff calculate based on information reported by the applicant on the FAFSA form. The

University uses it to determine how much financial aid the applicant would receive if they were

to attend the University.

       80.    The difference between the University’s estimated cost of attendance and an

applicant’s Expected Family Contribution is known as “demonstrated financial need.”

       81.    The University offers financial aid packages to some students that cover 100

percent of their demonstrated financial need.

       82.    For the 2016-2017 school year, the University provided approximately $159

million in scholarships and grants to undergraduate students.

       83.    Approximately 41 percent of the first-year entering class for the 2016-2017

school year received a scholarship or grant money from the University.

       84.    Students whose family income is at or below 200 percent of the federal poverty

guidelines qualify for a financial aid program named the Carolina Covenant.



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       85.     Admitted students who are eligible for the Carolina Covenant are offered a

combination of grants, scholarships, and work-study opportunities that meet 100 percent of

their cost of attendance and allow them to graduate debt free.

       86.     Carolina Covenant Scholars account for approximately 12 to 14 percent of each

incoming first-year class.

       87.     The amount of tuition revenue that the University can use to fund financial aid

was capped by the Board of Governors at 15% in 2014.

       88.     In 2006, the University established the Carolina Student Transfer Excellence

Program (“C-STEP”).

       89.     Students whose household incomes fall at or below 300 percent of federal

poverty guidelines are eligible for C-STEP.

       90.     C-STEP offers guaranteed University admission to students who attend one of

eleven partner community colleges in the state of North Carolina and complete required

coursework and earn an associate degree.

       91.     The University meets 100% of the financial need of enrolling C-STEP students.

       92.     The Carolina College Advising Corps (“CCAC”) is a program that works to

increase the number of low-income, first-generation college, and underrepresented minority

students from North Carolina who enter and complete higher education.

       93.     The CCAC places recent University graduates as college advisors in selected

public high schools throughout the state to assist with the college admissions and financial aid

processes.




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        94.    The CCAC advisors help students identify and apply to post-secondary

programs that will best serve them, both academically and socially.

        95.    CCAC advisors serve one or two high schools where they work full time.

        96.    In 2017-2018, 57 CCAC advisors served 77 high schools in North Carolina.

        97.    The CCAC program is not state funded.

        98.    The CCAC program relies on its own fundraising efforts for 60-70% of its

funding.

IV.     Data Produced

        99.    The University produced data relating to all applicants from the 2012-13, 2013-

14, 2014-15, 2015-2016, and 2016-17 admissions cycles (that is, for the incoming freshman

classes that would make up the graduating classes of 2016 to 2021).

        100.   This data includes information on 200,412 applicants during that period (65,123

in-state applicants and 135,289 out-of-state applicants).

        101.   This data provides a substantial amount of information on each applicant during

this period of time, including data on admissions and enrollment decisions, whether the

applicant applied for early action, academic background measures such as test scores and

grades, the five ratings that the University’s admissions officers assigned to each file, and

demographic information such as residency status, race/ethnicity, gender, and whether the

applicant is a first-generation college student. The data also include information relating to

several other special recruiting categories such as scholarship finalists and athletes.

        102.   The University also produced 625 randomly selected application files from each

of the 2013-14, 2014-15, 2015-16, and 2016-17 admissions cycles (2,500 total application files).



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  Respectfully submitted this 5th day of November, 2020.

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